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       Graphic details, photos emerge in restraining order
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       By Brittany Ghiroli (/author/brittany-ghiroli/) and Katie Strang (/author/katie-strang/) Jun 30, 2021




       Content warning: This story includes allegations ofsexual assault that may be difficult to read and
       emotionally upsetting.

      [Editor's note: This story has been updated with more information about a July 23 hearing,
       additional communications between Bauer and the woman, and additional information about her
       medical records.]

      A domestic violence restraining order filed against Dodgers pitcher Trevor Bauer and
      executed on June 28 includes multiple graphic images from the woman who filed the request.
      The woman, in the 67-page ex-parte document, said that Bauer assaulted her on two different


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       occasions. Together, the woman said those two incidents included Bauer punching her in the
       face, vagina, and buttocks, sticking his fingers down her throat, and strangling her to the
       point where she lost consciousness multiple times.

      The alleged assaults described by the woman, which are extremely graphic in nature,
       happened during what she said began as consensual sexual encounters between the two.
      According to the woman's declaration attached to the request and obtained by The Athletic,
      she suffered injuries as a result of the second encounter, including two black eyes, a bloodied
       swollen lip, significant bruising and scratching to one side of her face. In the woman's
       declaration, signed under penalty of perjury of California state laws, she said that her medical
       notes state that she had "significant head and facial trauma" and that there were signs of
       basilar skull fracture.

       (Update: After publication, Trevor Bauer's representatives emphasized that medical records
       showed that while the woman was initially diagnosed with signs of a basilar skull fracture, a
       subsequent CT scan found no acute fracture.)

       She also said that, in one of those incidents, while unconscious, Bauer penetrated her anally,
      which she did not consent to in advance.

      "I agreed to have consensual sex; however, I did not agree or consent to what he did next," she
      says. "I did not agree to be sexually assaulted."

      An ex parte is a temporary restraining order that does not grant the other party an ability to
      respond. The accused is notified of the allegations and given a formal hearing — in Bauer's
       case, scheduled for July 23 — and opportunity to respond to refute any of the allegations.
       Bauer's camp confirmed they plan to take part in the hearing. No formal charges have been
       filed.

       Reached by The Athletic on Wednesday, and presented with a request for comment regarding
       the ex-parte document, Bauer's camp declined further comment, and deferred to the
       statement made on Tuesday night by Bauer's agent, Jon Fetterolf.

      That statement reads: "Mr. Bauer had a brief and wholly consensual sexual relationship
      initiated by [the woman] beginning in April 2021. We have messages that show [her]
       repeatedly asking for `rough' sexual encounters involving requests to be `choked out' and
       slapped in the face.

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      "In both of their encounters, [the woman] drove from San Diego to Mr. Bauer's residence in
      Pasadena, Calif. where she went on to dictate what she wanted from him sexually and he did
      what was asked. Following each of her only two meetings with Mr. Bauer, [the woman] spent
      the night and left without incident, continuing to message Mr. Bauer with friendly and
       flirtatious banter. In the days following their second and final encounter, [the woman] shared
       photos of herself and indicated that she had sought medical care for a concussion. Mr. Bauer
       responded with concern and confusion, and [the woman] was neither angry nor accusatory.

      "Mr. Bauer and [the woman] have not corresponded in over a month and have not seen each
       other in over six weeks. Her basis for filing a protection order is nonexistent, fraudulent, and
       deliberately omits key facts, information, and her own relevant communications. Any
       allegations that the pair's encounters were not 100% consensual are baseless, defamatory, and
      will be refuted to the fullest extent of the law."

       Bryan Freedman, the woman's attorney, said Wednesday in a statement to The Athletic:
      "Without going into detail for the benefit of both my client and Mr. Bauer, the pictures
      evidencing the unconsented abuse do not lie. Any suggestion that she was not the victim of
       assault is not only false and defamatory but, in fact, perpetuates the abuse. Our client truly
      wants Mr. Bauer to engage in a medically appropriate therapeutic process where he can
      receive the treatment he needs to never act this way again. If he is willing to meaningfully
       participate in a process directed by appropriate professionals, it will go a long way toward
       allowing her to feel safe and resolving this matter. But, regardless, she cannot allow this to
       happen unknowingly to anyone else."

      The pair first met on Instagram and, after messaging back and forth, on April 21 the woman
      said she drove from San Diego to Los Angeles to meet Bauer. After conversing, they had sex
      which she described in the report as initially consensual, which involved Bauer asking the
      woman if she had ever been choked. She responded yes, "meaning that his putting his hands
      around my neck and applying light pressure." She alleges Bauer then began putting his fingers
       down her throat in an aggressive manner to which she asked him to stop. "He stopped, but
       then without asking me or telling me in advance, he wrapped my hair around my neck and
       choked me," the report states. "I lost consciousness."

      The woman says she did not know how long she was unconscious.



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      "I woke up face down on the bed, disoriented. I began realizing that he was having sex with
      me in my anus, which I never communicated that I wanted, nor did I consent," the woman
       said in her official declaration attached to the requested order.

       She said that when she used the bathroom after the encounter she was bleeding from her anus
       and barely able to walk, but said in her declaration "in my state at that time, I did not think
      Trevor was a threat to do anything against my will for the remainder of the night." She said
      the following morning Bauer asked her, "You feeling a little sore this morning?" in a joking
       manner. She said she was taken aback that he was trying to make light of the situation and
       told him she didn't enjoy when he commenced having anal sex with her. She said he seemed
       to understand and that she left an hour later.

      The two stayed in touch. After this report was published Wednesday, Bauer's representatives
       sent The Athletic screenshots of friendly messages the two exchanged between their first and
       second meetings discussing topics that included erotic asphyxiation and "slaps to the face."

      "We continued to communicate for the next three weeks over Instagram and text message,"
       the woman stated in the report. "We discussed subjects like baseball and my new job. We also
       communicated in a sexual nature."

      The report says on the night of May 15, 2021, Bauer invited the woman to his house again
       and this time asked her to agree on a safe word. About five minutes into sex, she said that he
       began choking her again, at which point she lost consciousness and "was unable to speak or
      move my body." She says when she regained consciousness, Bauer was punching her head:
      "This was the first punch I felt but it is very possible that Trevor had already been punching
       and scratching the right side of my face while I was unconscious. Trevor then punched me
       hard with a closed fist to the left side of my jaw, the left side of my head, and both
       cheekbones. I remember this vividly and it was extremely startling and painful. I was
       absolutely frozen and terrified. I could not speak or move. After punching me several times,
       he then flipped me back onto my stomach and began choking me with hair. I lost
       consciousness again.

      The woman said she had a terrible pain behind both of her ears and detailed tasting blood, as
      if her lip was split open. The woman said that when she regained consciousness, she was
       crying and shaking violently and that Bauer said to her repeatedly: "You're safe. I'm here.


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      You're safe." He began scratching her back and whispered to her, "I would never do those
       things to you if it wasn't sexually."

      The woman said she told him she thought her body was having a trauma response. Bauer, the
      woman said, asked if she had ever been hit before. She told him she had not. She said he then
       told her he was going to take a shower.

      The woman, who is 27 years old, provided multiple pictures as part of the request to the
      court. In those photos, the woman's face is visibly bruised and swollen, including under both
       of her eyes. She also has a swollen jaw, bloodied lip and scratches to the side of her face.

      As part of the request to the court, the woman also provided text messages and screenshots of
      voicemails she said Bauer sent to her inquiring about her well being and checking in with her
      to see what he could do; in one message, Bauer offers to deliver groceries to her. The woman
       also said that she underwent two medical examinations in connection with her injuries from
       the second encounter, including going to the emergency room at the Alvarado Hospital
       Medical Center in San Diego on May 16, where she said she underwent rapid CT scans for
       her brain, face and neck.

      After telling the emergency room psychiatrist and doctor what had happened, she said she
      met with multiple detectives with the San Diego Police Department. According to the
      woman, she downplayed what had happened as "rough sex" and didn't divulge Bauer's name at
      the time because she feared the potential repercussions if the information became public.

      "I was afraid what Trevor would do if he found out," the woman said in her account. "I
      remain afraid that Trevor will find me and hurt me for going to the hospital."

      The woman said in her declaration she was diagnosed with an acute head injury and assault
       by manual strangulation, and that she is willing to share her medical notes with the court.

      According to her account, the woman was then taken to another hospital, Palomar Health in
      Escondido, where she underwent a SART (sexual assault response team) exam by a nurse who
       specializes in sexual assault examinations. The woman said medical professionals
       photographed her entire body and that she has requested those photos.

       Provided in the court request is also her account of a recorded conversation she had with
       Bauer at the Pasadena Police Department's direction.

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       Bauer had been, according to the woman, messaging her "nonstop" since the second incident
       occurred, asking her if she was all right. The Pasadena police had her send a text to Bauer
       stating that she'd like to talk over the phone and that, in the course of that recorded phone
       call, she asked Bauer: "What did you do to me when I was unconscious?"

       Bauer admitted to punching her in the buttocks repeatedly, but when she said that she did not
       consent to that and did not consider it a "free-for-all," Bauer then tried to change the
       conversation.

      "At the end of the phone call, at the police's instructions, I said, `Thank you for
       acknowledging what you did to me,'" the woman's account said. "Trevor acknowledged it and
       asked how we could move forward and asked if he could still reach out." The woman said she
       told him he could because she did not know if the police needed more messages from him to
       collect as evidence as part of their investigation.

       Lt. Bill Grisafe confirmed Wednesday the Pasadena Police Department is actively
       investigating this. "We were notified on or about May 16 and that's when we began looking
       into the accusations," he said. "It's an active investigation."

      Grisafe told The Athletic that the case has not been presented to the district attorney's office,
      which would be the next step after the investigation concludes for potential charging.

      "We anticipate there will be criminal action against Mr. Bauer and it is our hope law
       enforcement will take our client's allegations and case seriously," the woman's lawyer, Marc
       Garelick, said in a statement.

      The woman said she waited to request the domestic violence restraining order to see how the
       criminal investigation would proceed and expressed concern over the timeline.

      "I am deeply concerned that no arrest has been made or charges filed," she said in the
      document.

      "One of the last text messages I sent him was, `I appreciate all of your offers to help, but the
       best way you can help me is to never do that to anyone else ever again.' To this, Trevor
       responded, `I would never do anything to hurt anyone. That includes you."'

      The 30-year-old Bauer signed a record-breaking, three-year, $102 million deal this winter on
       the heels of winning the National League Cy Young Award. He last pitched on Monday.
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      The Dodgers said in a statement they were made aware of the allegations against Bauer on
      Tuesday afternoon and "take any allegations of this nature very seriously." The statement also
      says the Dodgers immediately contacted Major League Baseball, which will be investigating
      the matter, and that the team had no further comment.

                                                             (Photo: Brian Rothmuller / Icon Sportswire via Getty Images)


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